        Case 2:08-cr-00518-KJM Document 120 Filed 02/22/10 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     RAYMOND EUGENE SILLS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                )        CR.NO.S-08-00518-LKK
10                                            )
           PLAINTIFF,                         )        STIPULATION AND
11                                            )        ORDER TO CONTINUE THE
           v.                                 )        JUDGMENT AND SENTENCING TO
12                                            )        TUESDAY MARCH 9, 2010
     JESS BRASIER, et al.,                    )
13                                            )
                                              )
14        DEFENDANTS.                         )
     ______________________________)
15
16         The parties to this litigation, the United States of America, represented by
17   Assistant United States Attorney, Mr. Michael M. Beckwith and the defendant
18   Raymond Eugene Sills, represented by attorney, Mr. James R. Greiner, hereby agree
19   and stipulate that the current date for the Judgment and Sentencing set for, Tuesday,
20   February 23, 2010, is hereby vacated and can be rescheduled for Tuesday, March 9,
21   2010, at 9:15 a.m. in Courtroom # 4 before the Honorable Senior District Court Judge,
22   Lawrence K. Karlton. This is to allow the defense additional time to respond to the
23   Probation Pre-sentence Investigation Report.
24         The Court’s Courtroom Deputy, Ms. Monica Narcisse, was contacted to check
25   to see if the Court is available that date, and the Court is.
26
27
28                                                 1
       Case 2:08-cr-00518-KJM Document 120 Filed 02/22/10 Page 2 of 2


 1        Respectfully submitted:
 2                                  BENJAMIN B. WAGNER
                                    UNITED STATES ATTORNEY
 3
                                    /s/ Michael M. Beck e mail authorization
 4
     DATED: 2-18-10                 _____________________________________
 5                                  Michael M. Beckwith
                                    ASSISTANT UNITED STATES ATTORNEY
 6                                  ATTORNEY FOR THE PLAINTIFF
 7
 8   DATED: 2-18-10                 /s/ James R. Greiner
                                    ___________________________________
 9                                  James R. Greiner
                                    Attorney for Defendant Raymond Eugene Sills
10
11
12                                        ORDER
13
14        FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
15
16
17   DATED: FEBRUARY 22, 2010
18
19
20
21
22
23
24
25
26
27
28                                            2
